     Case 2:20-cv-00615-WKW-CSC Document 5 Filed 10/06/20 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

DOMINIC BEB JOHNSON,                    )
AIS #269256                             )
                                        )
             Plaintiff,                 )
                                        )
       v.                               )      CASE NO. 2:20-CV-615-WKW
                                        )                [WO]
WEXFORD HEALTH SERVICE,                 )
INC.,                                   )
                                        )
             Defendant.                 )

                                    ORDER

      On August 27, 2020, the Magistrate Judge filed a Recommendation to which

no timely objections have been filed. (Doc. # 4.) Upon an independent review of

the record, it is ORDERED that the Recommendation is ADOPTED and that this

action is DISMISSED with prejudice prior to service of process pursuant to 28

U.S.C. § 1915(e)(2)(B)(i).

      Final judgment will be entered separately.

      DONE this 6th day of October, 2020.
                                                  /s/ W. Keith Watkins
                                            UNITED STATES DISTRICT JUDGE
